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			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
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					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							September 1, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants).&nbsp; Concurrence and Dissent to Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants, [ada].&nbsp; Petition for Writ of Mandamus, filed 08/12/2020. &nbsp;S.Ct. Order, filed 08/13/2020 [ada]. &nbsp;S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020. &nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020. Concurring and Dissenting Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Felony Defendants, filed 08/18/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/19/2020 [ada].&nbsp; Motion for Clarification and/or Reconsideration filed 08/19/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants at the Maui Community Correctional Center, the Hawai‘i Community Correctional Center, and the Kaua‘i Community Correctional Center, filed 08/24/2020 [ada].&nbsp; S.Ct. Order Granting in Part and Denying in Part Motion for Clarification and/or Reconsideration, filed 08/26/2020 [ada].

							
							
						
												
							August 31, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Smith (mem. op., vacated, affirmed and remanded).

							Circuit Court, 3rd Circuit
							
						
												
							August 31, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Feliciano (mem. op., vacated and remanded).&nbsp; Dissenting Opinion by Leonard, J., [ada].

							Family Court, 3rd Circuit
							
						
												
							August 31, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Rosa.

							Circuit Court, 1st Circuit
							
						
												
							August 28, 2020
							S.Ct
							SCMF-XX-XXXXXXX [ADA]
							In re the Matter of the September 2020 Bar Examination (Second Order Regarding the September 2020 Bar Exam in Light of COVID-19). Concurrence and Dissent to the Second Second Order Regarding the September 2020 Bar Exam in Light of COVID-19, [ada]. S.Ct Amended Order Regarding the September 2020 Bar Exam in Light of COVID-19, filed 08/28/2020.&nbsp; 

							
							
						
												
							August 28, 2020
							S.Ct
							SCMF-XX-XXXXXXX [ADA]
							In re the Matter of the September 2020 Bar Examination (Amended Second Order Regarding the September 2020 Bar Exam in Light of COVID-19).&nbsp; S.Ct Order Regarding the September 2020 Bar Exam in Light of COVID-19, filed 08/28/2020.&nbsp; Concurrence and Dissent to the Second Second Order Regarding the September 2020 Bar Exam in Light of COVID-19, [ada].

							
							
						
												
							August 28, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Sandry v. State (Order Denying Petition for Writ of Habeas Corpus).&nbsp; Petition for Writ of Habeas Corpus, filed 06/01/2020.&nbsp; S.Ct. Order Denying Petition for Writ of Habeas Corpus, filed 06/24/2020 [ada].&nbsp; Concurrence [ada].&nbsp; “Motion Objecting [to] the Decision and Order Denying Non-Violent Community Custody Petitioner Release”, filed 07/10/2020. &nbsp; &nbsp; S.Ct. Order Denying “Motion Objecting [to] the Decision and Order Denying Non-Violent Community Custody Petitioner Release”, filed 07/20/2020 [ada]. Concurrence [ada].&nbsp; Petition for Writ of Habeas Corpus, filed 08/07/2020.

							Original Proceeding
							
						
												
							August 28, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Hosaka.&nbsp; ICA Opinion, filed 05/17/2019 [ada], 144 Haw 420.&nbsp; Application for Writ of Certiorari, filed 08/15/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 09/27/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							August 28, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							RL v. DL (Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing as Moot All Pending Motions in CAAP-XX-XXXXXXX).

							Family Court, 2nd Circuit
							
						
												
							August 28, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							RL v. DL (Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing as Moot All Pending Motions in CAAP-XX-XXXXXXX).

							Family Court, 2nd Circuit
							
						
												
							August 28, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Dung v. Shelly Eurocars, LLC (s.d.o., affirmed).

							Circuit Court, 1st Circuit
							
						
												
							August 27, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants).&nbsp; Concurrence and Dissent to Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants [ada].&nbsp; Petition for Writ of Mandamus, filed 08/12/2020. &nbsp;S.Ct. Order, filed 08/13/2020 [ada]. &nbsp;S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020. &nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020. Concurring and Dissenting Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Felony Defendants, filed 08/18/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/19/2020 [ada].&nbsp; Motion for Clarification and/or Reconsideration filed 08/19/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants at the Maui Community Correctional Center, the Hawai‘i Community Correctional Center, and the Kaua‘i Community Correctional Center, filed 08/24/2020 [ada].&nbsp; S.Ct. Order Granting in Part and Denying in Part Motion for Clarification and/or Reconsideration, filed 08/26/2020 [ada].

							Original Proceeding
							
						
												
							August 27, 2020
							S.Ct
							SCEC-XX-XXXXXXX [ADA]
							Fanene v. State of Hawai‘i Office of Elections (Order Dismissing Election Complaint).&nbsp; Election Complaint filed, 08/20/2020.

							Original Proceeding
							
						
												
							August 27, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							KR v. TR (s.d.o., affirmed).

							Family Court, 1st Circuit
							
						
												
							August 26, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Order Granting in Part and Denying in Part Motion for Clarification and/or Reconsideration).&nbsp; Petition for Writ of Mandamus, filed 08/12/2020. &nbsp;S.Ct. Order, filed 08/13/2020 [ada]. &nbsp;S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020. &nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020. Concurring and Dissenting Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Felony Defendants, filed 08/18/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/19/2020 [ada].&nbsp; Motion for Clarification and/or Reconsideration filed 08/19/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants at the Maui Community Correctional Center, the Hawai‘i Community Correctional Center, and the Kaua‘i Community Correctional Center, filed 08/24/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants, filed 08/27/2020 [ada].&nbsp; Concurrence and Dissent to Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants [ada].

							Original Proceeding
							
						
												
							August 26, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Vega (Order Dismissing Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 06/17/2020 [ada].&nbsp; ICA Order of Correction, filed 06/25/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 08/11/2020.

							Circuit Court, 3rd Circuit
							
						
												
							August 26, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Hirai v. Civil Service Commission (Order Denying Stipulation to Withdraw and Granting the Stipulation to Dismiss Appeal).

							Circuit Court, 1st Circuit
							
						
												
							August 26, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Lindsey v. State (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 06/04/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 07/20/2020.

							Circuit Court, 1st Circuit
							
						
												
							August 25, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Makila Land Co. v. Heirs or Assigns of APAA (Order of Correction). ICA Opinion, filed 04/06/2020 [ada].&nbsp; ICA Order of Correction, filed 04/17/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 07/28/2020.&nbsp;

							Circuit Court, 2nd Circuit
							
						
												
							August 25, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Kealoha v. To‘oto‘o (Order Denying Amended Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 05/21/2020.&nbsp; S.Ct Order Denying Petition for Writ of Mandamus, filed 06/05/2020 [ada].&nbsp; Amended Petition for Writ of Mandamus, filed 08/03/2020.

							Original Proceeding
							
						
												
							August 25, 2020
							S.Ct
							SCOT-XX-XXXXXXX [ADA]
							Tataii v. Nago (Order Dismissing Complaint).&nbsp; Election Complaint, filed 08/04/2020.

							Original Proceeding
							
						
												
							August 25, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Riveira, Jr. (s.d.o., vacated and remanded).

							Circuit Court, 1st Circuit
							
						
												
							August 24, 2020
							S.Ct
							SCEC-XX-XXXXXXX [ADA]
							DeJean v. Nago (Order Denying Motion for Reconsideration).&nbsp; Election Complaint, filed 08/07/2020.&nbsp; S.Ct. Order Dismissing Election Complaint, filed 08/18/2020 [ada].&nbsp; Motion for Reconsideration filed 08/20/2020.

							Original Proceeding
							
						
												
							August 24, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Pedro (s.d.o., affirmed).

							Family Court, 2nd Circuit
							
						
												
							August 24, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Adcock.

							Circuit Court, 2nd Circuit
							
						
												
							August 24, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants at the Maui Community Correctional Center, the Hawai‘i Community Correctional Center, and the Kaua‘i Community Correctional Center).&nbsp; Petition for Writ of Mandamus, filed 08/12/2020. &nbsp;S.Ct. Order, filed 08/13/2020 [ada]. &nbsp;S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020. &nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020. Concurring and Dissenting Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Felony Defendants, filed 08/18/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/19/2020 [ada].&nbsp; Motion for for Clarification and/or Reconsideration, filed 08/19/2020.&nbsp; S.Ct. Order Granting in Part and Denying in Part Motion for Clarification and/or Reconsideration, filed 08/26/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants, filed 08/27/2020 [ada].&nbsp; Concurrence and Dissent to Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants [ada].

							Original Proceeding
							
						
												
							August 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re Estate of Joanna Lau Sullivan (Order of Correction).&nbsp; ICA Opinion, filed 03/20/2020 [ada].

							Circuit Court, 1st Circuit
							
						
												
							August 20, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Pulliam (Order Denying Petition for Writ of Habeas Corpus).&nbsp; Petition for Writ of Habeas Corpus, filed 07/22/2020.

							Original Proceeding
							
						
												
							August 19, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							RSM Inc. v. Middleton (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA Order Dismissing Appeal, filed 05/19/2020 [ada].&nbsp; Motion for Reconsideration, filed 06/01/2020.&nbsp; ICA Order Denying Motion for Reconsideration, filed 06/05/2020 [ada].&nbsp; Petitioners’ Application for Writ of Certiorari, filed 06/19/2020.&nbsp;

							District Court, 3rd Circuit, North and South Hilo Division
							
						
												
							August 19, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Kaneshiro (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							District Court, 1st Circuit, Honolulu Division
							
						
												
							August 19, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Interim Order).&nbsp; Petition for Writ of Mandamus, filed 08/12/2020. &nbsp;S.Ct. Order, filed 08/13/2020 [ada]. &nbsp;S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020. &nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020. Concurring and Dissenting Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Felony Defendants, filed 08/18/2020 [ada]. Motion for for Clarification and/or Reconsideration, filed 08/19/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor, and Felony Defendants at the Maui Community Correctional Center, the Hawai‘i Community Correctional Center, and the Kaua‘i Community Correctional Center, filed 08/24/2020 [ada].&nbsp; S.Ct. Order Granting in Part and Denying in Part Motion for Clarification and/or Reconsideration, filed 08/26/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants, filed 08/27/2020 [ada].&nbsp; Concurrence and Dissent to Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants [ada].

							Original Proceeding
							
						
												
							August 18, 2020
							S.Ct
							SCMF-XX-XXXXXXX [ADA]
							In re the Matter of the Judiciary’s Response to the COVID-19 Outbreak (Order Regarding Temporary Extension of the Time Requirements Under Hawai‘i Rules of Penal Procedure Rule 10 (a), (b), and (c).&nbsp; Concurrence and Dissent Re: Order Regarding Temporary Extension of the Time Requirements Under Hawai‘i Rules of Penal Procedure Rule 10 (a), (b), and (c), filed 08/20/2020 [ada].

							
							
						
												
							August 18, 2020
							S.Ct
							SCEC-XX-XXXXXXX [ADA]
							Dicks v. State of Hawai‘i Office of Elections (Findings of Fact, Conclusions of Law and Judgment).

							Original Proceeding
							
						
												
							August 18, 2020
							S.Ct
							SCEC-XX-XXXXXXX [ADA]
							DeJean v. Nago (Order Dismissing Election Complaint).&nbsp; Election Complaint, filed 08/07/2020.&nbsp; Motion for Reconsideration, filed 08/20/2020.&nbsp; S.Ct. Order Denying Motion for Reconsideration, filed 08/24/2020 [ada].

							Original Proceeding
							
						
												
							August 18, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Sagapolutele-Silva (Order Of Correction).&nbsp; ICA Opinion, filed 04/08/2020 [ada].&nbsp; ICA Order of Correction, filed 06/01/2020 [ada].&nbsp; ICA Order of Amendment, filed 06/08/2020 [ada].&nbsp; ICA Amended Opinion, filed 06/08/2020 [ada].&nbsp; Petitioner Plaintiff Application for Writ of Certiorari, filed 08/13/2020.&nbsp; Petitioner Defendant Application for Writ of Certiorari, filed 08/17/2020.&nbsp;

							District Court, 1st Circuit, Honolulu Division
							
						
												
							August 18, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Kaheaku v. Child Support Enforcement Agency (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Family Court, 1st Circuit
							
						
												
							August 18, 2020
							S.Ct
							26079 [ADA]
							Office of Disciplinary Counsel v. Brenner (Order).&nbsp; S.Ct. Order Allowing Resignation in Lieu of Discipline, filed 07/19/2010 [ada].

							Original Proceeding
							
						
												
							August 18, 2020
							S.Ct
							21803 [ADA]
							Office of Disciplinary Counsel v. Egami (Order).&nbsp; S.Ct. Order, filed 06/26/2020 [ada].

							Original Proceeding
							
						
												
							August 18, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Amended Order Re: Felony Defendants).&nbsp; Petition for Writ of Mandamus, filed 08/12/2020. &nbsp;S.Ct. Order, filed 08/13/2020 [ada]. &nbsp;S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020. &nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020.&nbsp; Concurring and Dissenting Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/19/2020 [ada]. Motion for for Clarification and/or Reconsideration, filed 08/19/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor and Felony Defendants at the Maui Community Correctional Center, the Hawai‘i Community Correctional Center, and the Kaua‘i Community Correctional Center, filed 08/24/2020 [ada]. S.Ct. Order Granting in Part and Denying in Part Motion for Clarification and/or Reconsideration, filed 08/26/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants, filed 08/27/2020 [ada].&nbsp; Concurrence and Dissent to Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants [ada].

							Original Proceeding
							
						
												
							August 17, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Vicente v. Hilo Medical Investors, Ltd. (Order Denying Motion for Reconsideration).&nbsp; ICA Order Dismissing Appeal for Lack of Appellate Jurisdiction, filed 06/03/2020 [ada].&nbsp; Motion for Reconsideration, filed 06/10/2020.&nbsp; ICA Order Denying June 10, 2020 Motion for Reconsideration of June 3, 2020 Order Dismissing Appeal for Lack of Appellate Jurisdiction, filed 06/17/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 06/25/2020.&nbsp; S.Ct. Order Rejecting Application for Writ of Certiorari, filed 08/06/2020 [ada].&nbsp; Motion for Reconsideration, filed 08/13/2020.

							Labor and Industrial Relations Appeals Board
							
						
												
							August 17, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants).&nbsp; Petition for Writ of Mandamus, filed 08/12/2020. &nbsp;S.Ct. Order, filed 08/13/2020 [ada]. &nbsp;S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020. &nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020. Concurring and Dissenting Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Felony Defendants, filed 08/18/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/19/2020 [ada].&nbsp; Motion for Clarification and/or Reconsideration, filed 08/19/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants at the Maui Community Correctional Center, the Hawai‘i Community Correctional Center, and the Kaua‘i Community Correctional Center, filed 08/24/2020 [ada].&nbsp; S.Ct. Order Granting in Part and Denying in Part Motion for Clarification and/or Reconsideration, filed 08/26/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants, filed 08/27/2020 [ada].&nbsp; Concurrence and Dissent to Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants [ada].

							Original Proceeding
							
						
												
							August 17, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Order Re: Felony Defendants).&nbsp; Petition for Writ of Mandamus, filed 08/12/2020. &nbsp;S.Ct. Order, filed 08/13/2020 [ada]. &nbsp;S.Ct. Interim Order, filed 08/14/2020 [ada]. Dissent, filed 08/15/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020. &nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; Concurring and Dissenting Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Felony Defendants, filed 08/18/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/19/2020 [ada].&nbsp; Motion for Clarification and/or Reconsideration, filed 08/19/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants at the Maui Community Correctional Center, the Hawai‘i Community Correctional Center, and the Kaua‘i Community Correctional Center, filed 08/24/2020 [ada].&nbsp; S.Ct. Order Granting in Part and Denying in Part Motion for Clarification and/or Reconsideration, filed 08/26/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants, filed 08/27/2020 [ada].&nbsp; Concurrence and Dissent to Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants [ada].

							Original Proceeding
							
						
												
							August 16, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Order Re: Petty Misdemeanor and Misdemeanor Defendants).&nbsp; Petition for Writ of Mandamus, filed 08/12/2020. &nbsp;S.Ct. Order, filed 08/13/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020. &nbsp;Concurring and Dissenting Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Felony Defendants, filed 08/18/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/19/2020 [ada].&nbsp; Motion for Clarification and/or Reconsideration, filed 08/19/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor, and Felony Defendants at the Maui Community Correctional Center, the Hawai‘i Community Correctional Center, and the Kaua‘i Community Correctional Center, filed 08/24/2020 [ada].&nbsp; S.Ct. Order Granting in Part and Denying in Part Motion for Clarification and/or Reconsideration, filed 08/26/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants, filed 08/27/2020 [ada].&nbsp; Concurrence and Dissent to Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants [ada].

							Original Proceeding
							
						
												
							August 14, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Interim Order).&nbsp; Dissent, filed 08/15/2020.&nbsp; Petition for Writ of Mandamus, filed 08/12/2020. &nbsp;S.Ct. Order, filed 08/13/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020. &nbsp; Amended Dissent, filed 08/17/2020 [ada].&nbsp; S.Ct. Order Re: Felony Defendants, filed 08/17/2020. Concurring and Dissenting Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Felony Defendants, filed 08/18/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/19/2020 [ada].&nbsp; Motion for Clarification and/or Reconsideration, filed 08/19/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor, and Felony Defendants at the Maui Community Correctional Center, the Hawai‘i Community Correctional Center, and the Kaua‘i Community Correctional Center, filed 08/24/2020 [ada].&nbsp;&nbsp; S.Ct. Order Granting in Part and Denying in Part Motion for Clarification and/or Reconsideration, filed 08/26/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants, filed 08/27/2020 [ada].&nbsp; Concurrence and Dissent to Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants [ada].

							Original Proceeding
							
						
												
							August 13, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Individuals in Custody of the State of Hawai‘i (Order).&nbsp; Petition for Writ of Mandamus, filed 08/12/2020.&nbsp; S.Ct. Interim Order, filed 08/14/2020 [ada].&nbsp; Dissent, filed 08/15/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/16/2020. &nbsp;Amended Dissent, filed 08/17/2020 [ada]. &nbsp;S.Ct. Order Re: Felony Defendants, filed 08/17/2020.&nbsp; Concurring and Dissenting Order Re: Petty Misdemeanor and Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Petty Misdemeanor and&nbsp; Misdemeanor Defendants, filed 08/17/2020 [ada].&nbsp; S.Ct. Amended Order Re: Felony Defendants, filed 08/18/2020 [ada].&nbsp; S.Ct. Interim Order, filed 08/19/2020 [ada].&nbsp; Motion for Clarification and/or Reconsideration, filed 08/19/2020.&nbsp; S.Ct. Order Re: Petty Misdemeanor, and Felony Defendants at the Maui Community Correctional Center, the Hawai‘i Community Correctional Center, and the Kaua‘i Community Correctional Center, filed 08/24/2020 [ada].&nbsp; S.Ct. Order Granting in Part and Denying in Part Motion for Clarification and/or Reconsideration, filed 08/26/2020 [ada].&nbsp; S.Ct. Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants, filed 08/27/2020 [ada].&nbsp; Concurrence and Dissent to Order Re: Petty Misdemeanor, Misdemeanor, and Felony Defendants [ada].

							Original Proceeding
							
						
												
							August 13, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Keanaaina (Order Accepting Application for Writ of Certiorari).&nbsp; ICA mem.op., filed 04/13/2020 [ada], 146 Haw. 238.&nbsp; Application for Writ of Certiorari, filed 07/01/2020.&nbsp;

							Circuit Court, 3rd Circuit
							
						
												
							August 13, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							LO v. NO (s.d.o., affirmed).

							Family Court, 1st Circuit
							
						
												
							August 12, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							U.S. Bank National Association v. Paul (Order Granting July 31, 2020 Motion to Dismiss Appeal).

							Circuit Court, 5th Circuit
							
						
												
							August 11, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Ally Bank v. Hochroth (Order Approving Stipulation for Dismissal of Appeals).&nbsp; Consolidated With Case No. CAAP-XX-XXXXXXX.

							Circuit Court, 1st Circuit
							
						
												
							August 10, 2020
							S.Ct
							SCAD-XX-XXXXXXX [ADA]
							In re: Garbett (Order).

							Original Proceeding
							
						
											
				
			
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